
Mr. Justice Douglas,
with Mr. Justice Reed concurring, filed, a-dissenting opinion as .follows:
*825■ Law has-reached its finest moments when it has freed ' man from the unlimited discretion of some rider, some civil or military official, some bureaucrat. Where discretion-is'absolute, man has always suffered; 'At times it has been his property that has been invadedat' times, his privacy; at times, his liberty of movement; at times, his freedom of thought; at times, his life. ' Absolute discretion is a ruthless master. It is more destructive of freedom than any of man’s other inventions. •
The instant case reveals only a minor facet of the'- age-long struggle. The result reached by the Court can be rationalized or made plausible by casting it in terms of contract law: the parties need not have made this contract ; those Who contract with the Government must turn square corners; the parties will be left where their engagement brought them. And it may be that in this case the equities are with the Government, not'with the contractor. But the rule we announce has wide application and a devastating effect. It makes a tyrant out of every contracting officer. He is granted-the power of a tyrant even though he is stubborn, perverse, or captious. He is allowed the power of a tyrant though he is incompetent or negligent. He has the power of life and death over a private business even though his decision is grossly erroneous. Power granted is seldom neglected.
The principle of checks and balances is a healthy one. An official who is accountable will act more prudently. A citizen who has an appeal to a body independent of tne controversy has protection against passion, obstinacy, irrational conduct, and incompetency of an official. The opinion by Judge Madden in this case expresses a revulsion to allowing one man an uncontrolled discretion over another’s fiscal affairs. We should allow the Court of Claims, the agency close to these disputes, to reverse an official whose conduct is plainly out of bounds, whether he is fraudulent, perverse, captious, incompetent, or just palpably wrong.. The rule we announce makes government oppressive. The rule the Court of Claims espouses gives a citizen justice even against his government. ’
